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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

 AUDIOLOGY DISTRIBUTION LLC DBA
 HEARUSA, MEDPLUS HEALTH
 SOLUTIONS, LLC, and HARMONY
 HEARING SERVICES LLC,

       Plaintiffs,

 v.                                                   Case No: 8:20-cv-499-MSS-TGW

 PETER STEPHENS, JASON DAWSON,
 and PHIL VALDENS, as individuals,
 CENTRALCOMP SERVICES LLC, a
 Tennessee Limited Liability Company,
 UNIFIED HEARING SOLUTIONS LLC, a
 Florida Limited Liability Company,
 PENSER NORTH AMERICA, INC., a
 Washington Corporation, LOVE AND
 LUCK ENTERPRISES LLC, a Florida
 Limited Liability Company, HEALTH
 PAY SERVICES LLC, a Florida Limited
 Liability Company, and
 PROFESSIONAL SERVICES SOLUTION
 OF FLORIDA LLC, a Florida Limited
 Liability Company,

       Defendants.


                     ORDER GRANTING PRELIMINARY INJUNCTION

       This matter is before the Court on the Motion for Preliminary Injunction (“Motion”)

 filed by Plaintiff Audiology Distribution LLC dba HearUSA (“Audiology”) and its wholly

 owned subsidiaries MEDPlus Health Solutions, LLC (“MEDPlus”) and Harmony Hearing

 Services LLC (“Harmony”), pursuant to Federal Rule of Civil Procedure 65 and Local Rule

 4.06, seeking to enjoin the conduct of Defendants Peter Stephens (“Stephens”), Jason




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 Dawson (“Dawson”), CentralComp Services LLC (“CentralComp”), and Unified Hearing

 Solutions LLC (“Unified Hearing”) (collectively the “Injunction Defendants”). (Dkt. 6)

       Having considered Plaintiffs’ Verified Complaint, the Motion for Preliminary

 Injunction, the sworn affidavits submitted with the Motion for Preliminary Injunction,

 Plaintiff’s Supplemental Memorandum in Support of Motion for Preliminary Injunction, the

 Injunction Defendants’ Response in Opposition to Plaintiffs’ Motion for Preliminary

 Injunction, the Injunction Defendants’ Response to Plaintiffs’ Supplemental Memorandum

 in Support of Motion for Preliminary Injunction, the evidence of record, and the oral

 arguments and testimony provided during the hearings held on March 6, 2020 and June

 18, 2020, the Court makes the following findings:

    (1) Plaintiffs and Defendants Stephens and Dawson contractually agreed that an

        injunction would issue for breach of either the “Confidentiality” or “Return of

        Property” provisions in their employment agreements. Stephens and Dawson

        breached both by disclosing confidential customer lists, employee lists, and other

        sensitive information to third parties without authorization. Stephens and Dawson

        have also failed and refused to return all company property requested by Plaintiffs.

    (2) Plaintiffs have demonstrated a substantial likelihood of prevailing on the merits of

        their claims for breach of contract, misappropriation of trade secrets under the

        federal Defend Trade Secrets Act (“DTSA”), 18 U.S.C. § 1836 et seq., and the

        Florida Uniform Trade Secrets Act (“FUTSA”), Fla. Stat. §§ 688.001 et seq., the

        Computer Fraud and Abuse Act (“CFAA”), and false advertising and unfair

        competition under the Lanham Act, among other claims asserted in the Complaint.

        Specifically, Plaintiffs have demonstrated a substantial likelihood that:



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            i.   Defendants Stephens and Dawson breached their employment

                 agreements as follows:

                      (a) Defendants      Stephens      and     Dawson     violated     the

                         “Confidentiality” provision by accessing MEDPlus’ and

                         Harmony’s     customer      lists,   employee   lists,   customer

                         information, financial and business information, and trade

                         secrets and using this information to divert customers and

                         employees into their competing ventures;

                      (b) Defendants Stephens and Dawson violated the “Good Faith

                         and Fair Dealing” provision by secretly diverting MEDPlus and

                         Harmony customers and employees under false pretenses to

                         competing ventures owned by Stephens and Dawson,

                         misappropriating Plaintiffs’ trade secrets and confidential

                         information for personal financial gain, and accessing and

                         destroying company files and evidence of their wrongdoing,

                         even after they were placed on administrative leave and

                         ultimately terminated. In more than one instance, Stephens

                         brazenly delivered the following letter to current MEDPlus

                         customers:

                                To whom it may concern,
                                MEDPlus Health Solutions was recently
                                purchased and is going in a different direction
                                with their business model. A new company has
                                been formed in order to facilitate the referrals that
                                MEDPlus has been coordinating. The new
                                company name is CentralComp Services LLC . .
                                ..

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                              Thank you,

                              Pete Stephens.

                        In fact, MEDPlus was not and is not altering its business

                        model and is completely unaffiliated with CentralComp—a

                        direct competitor of MEDPlus;

                     (c) Defendants Stephens and Dawson violated the “Non-

                        Compete” provision—which bars Stephens and Dawson from

                        competing with MEDPlus and Harmony, respectively, for up

                        to two years after termination—by the acts described above;

                     (d) Defendants Stephens and Dawson violated the “Non-

                        Solicitation” provision by soliciting MEDPlus and Harmony

                        customers and employees to join competing ventures owned

                        by Stephens and Dawson. They did this while Stephens and

                        Dawson were still MEDPlus and Harmony employees,

                        respectively, and while they were on MEDPlus’s and

                        Harmony’s respective payrolls;

                     (e) Defendants Stephens and Dawson violated the “Return of

                        Property” provision by refusing to turn over all company e-

                        mails and files demanded, some of which have been

                        destroyed;

                     (f) Defendants Stephens and Dawson violated the “Non-

                        Disparagement” provision by disparaging the reputation of

                        MEDPlus and Harmony.



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                ii. The Injunction Defendants have, in violation of DTSA and FUTSA,

                   misappropriated and continue to misappropriate MEDPlus and

                   Harmony customers and trade secrets—including confidential

                   customer and employee lists and well-established business know-

                   how—and re-direct them to Defendants CentralComp Services LLC

                   (“CentralComp”) and Unified Hearing Solutions LLC (“Unified

                   Hearing”)—entities formed by or owned in part by Stephens and

                   Dawson;

               iii. The Injunction Defendants have, in violation of the CFAA, accessed

                   Plaintiffs’ “protected computers” after Stephens and Dawson were

                   placed on administrative leave and ordered not to access Plaintiffs’

                   systems, and used information on these protected computers to

                   divert business and claims to CentralComp and Unified Hearing and

                   to a network of claims processing entities owned in full or in part by

                   Stephens and Dawson (the “Affiliated Networks”);

               iv. The Injunction Defendants have, in violation of the Lanham Act,

                   deceived MEDPlus customers by falsely claiming that MEDPlus was

                   undergoing a “brand change” to CentralComp. Stephens did this on

                   MEDPlus letterhead, using MEDPlus’ trademark, and using

                   Stephens’ title as “President-MEDPlus Health Solutions.” In fact,

                   Stephens knew that MEDPlus was not and is not undergoing a brand

                   change and is not in any way affiliated with CentralComp, a direct

                   competitor of MEDPlus. Plaintiffs have lost substantial revenue from



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                      at least one customer as a result, and their industry reputation has

                      suffered;

    (3) Plaintiffs have made a showing of substantial likelihood that they will continue to

        suffer imminent, irreparable harm if the Injunction Defendants are not enjoined

        from performing these acts, specifically that: MEDPlus and Harmony have lost

        significant revenue that was diverted from many of their largest customers; they

        have also lost key employees to competing ventures owned by Stephens and

        Dawson; their reputation among customers, prospective customers, and industry

        peers has been irreparably damaged and, absent a Preliminary Injunction

        enjoining this conduct for the pendency of this litigation, they will continue to be

        harmed given the pernicious nature of the scheme that the Injunction Defendants

        engaged in and their initial refusal to discontinue the conduct and retract the false

        statements.

    (4) The injury to Plaintiffs which will follow if the requested injunctive relief is not

        granted outweighs any harm the Injunction Defendants might suffer if it is granted;

    (5) Granting the Preliminary Injunction in this case will serve the public interest; and

    (6) This Court has personal jurisdiction over Dawson.



       WHEREFORE, for good cause shown, Plaintiffs’ Motion for Preliminary Injunction

 is GRANTED IN PART and DENIED IN PART. The Court DENIES the Motion without

 prejudice to the extent it requests a freeze of any assets. The Court GRANTS the Motion

 as set forth herein. IT IS HEREBY ORDERED as follows:




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       The Injunction Defendants, and anyone acting in concert with them or on their

 behalf, must immediately:

          1. Stop misrepresenting to third parties that MEDPlus or Harmony are

              undergoing a brand change, leaving the worker’s compensation industry or

              changing direction, or are in any way affiliated with CentralComp and

              Unified Hearing and/or the Affiliated Networks, including but not limited to

              Health Pay Services LLC (“Health Pay Services”); Taled Medical Living,

              LLC (“Taled”); Waterford Comp Services, Inc. (“Waterford”), Innovative

              Claim Solutions, Inc. (“ICS”); Love & Luck Enterprises; Magnetic Imaging

              Services, Inc. (“MIS”); Professional Services Solution of Florida LLC

              (“Professional Services”), until final determination of the present action;

          2. Within three (3) days of the Order, deliver to counsel for Plaintiffs all

              outstanding customer information that they have transferred from MEDPlus

              and/or Harmony to themselves or others;

          3. Stop the further transfer of MEDPlus and/or Harmony customer information

              to themselves, the Affiliated Networks, or others including any personal

              account or repository of information the Injunction Defendants retain

              (digitally or through physical means) until final determination of the present

              action;

          4. Stop accessing the company databases and emails of MEDPlus and

              Harmony until final determination of the present action, and within fourteen

              (14) days of the Order, identify all database systems that have been used




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             to conduct MEDPlus and Harmony business, to the extent this has not been

             completed in compliance with the previous TRO;

          5. Within one (1) day of the Order, provide Plaintiffs with full and complete

             access and administrator rights to Plaintiffs’ Google Suite account,

             Plaintiffs’ Aplicor, any other databases belonging to Plaintiffs used to

             conduct MEDPlus and Harmony businesses by Health Pay Services and

             Professional Services, and the Affiliated Networks, and any other

             applications belonging to Plaintiffs;

          6. Within three (3) days of the Order, return all devices belonging to Plaintiffs

             and company records and data of MEDPlus and Harmony and provide

             correct administrator credentials so that Plaintiffs can access these devices,

             including but not limited to those devices being used by Stephens and

             Dawson, and the former employees of MEDPlus and Harmony who are now

             working for CentralComp and Unified Hearing, such as Brad Bodenmiller

             and Katie Phelps McDonald, Jessica Pelfrey, and other former employees

             of MEDPlus and Harmony who work at Health Pay Services, Professional

             Services, and other entities in the Affiliated Networks;

          7. Within three (3) days of the Order, return checks and mail that were

             addressed to or by MEDPlus and Harmony or any facsimile or emails from

             customers or any third parties to MEDPlus or Harmony and continue to do

             so as they are received until final determination of the present action;

          8. Stop converting to their own use and to the use of third parties MEDPlus’

             and Harmony’s trade secrets and confidential information, specifically



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              customer information, transaction details, and financial information obtained

              through access to Plaintiffs’ databases and applications, and return any in

              the Injunction Defendants’ possession until final determination of the

              present action;

           9. Stop the removal of any content from their personal databases, however

              stored (including via computer, phone, or other electronic or physical

              means), until final determination of the present action;

       It is FURTHER ORDERED that Defendants Stephens and Dawson and anyone

 acting in concert with them or on their behalf, must immediately:

           1. Stop misrepresenting or disparaging MEDPlus to MEDPlus’ customers until

              final determination of the present action;

           2. Stop soliciting directly or indirectly Plaintiffs’ customers to transfer their

              business to CentralComp and Unified Hearing, or the Affiliated Networks

              until final determination of the present action;

           3. Stop soliciting directly or indirectly Plaintiffs’ employees to join

              CentralComp and Unified Hearing and/or the Affiliated Networks, including

              but not limited to Health Pay Services, Taled, and Waterford until final

              determination of the present action;

       It is FURTHER ORDERED that Plaintiffs are required to post with the Clerk of this

 Court a cash or surety bond in the amount of $50,000.00 for the duration of the

 preliminary injunction to pay any costs and damages sustained by the Injunction

 Defendants if they are found to have been wrongfully enjoined or restrained. See Fed. R.




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  Civ. P. 65(c). Such bond shall be posted IMMEDIATELY. Plaintiff shall file Notice with

  the Court following its posting of the bond.

         DONE and ORDERED in Tampa, Florida this 7th day of July, 2020.




  Copies furnished to:
  Counsel of Record
  Any Unrepresented Party




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